            Case 3:19-cr-00034-SMR-SBJ                Document 108          Filed 03/26/25        Page 1 of 1




                                UNITED STATES DISTRICT COURT
                                                       for the
                                          SOUTHERN
                                           __________ DISTRICT     OF IOWA
                                                      District of __________

               United States of America                      )
                          v.                                 )
                                                             )        Case No. 3:19-cr-00034-SMR-SBJ-2
                  Cody Scott Sheese                          )
                         Defendant                           )

                                     ORDER SCHEDULING A REVOCATION HEARING
                                              DEFENDANT DETAINED

        A revocation hearing in this case is scheduled as follows:

Place: United States Courthouse                                      Courtroom No.: 120
       131 E,. 4th Street
       Davenport, Iowa 52801                                         Date and Time: 4/16/2025 9:00 am


        IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:   March 26, 2025
                                                                                        Judge’s signature



                                                                     Stephen B. Jackson, Jr., Chief U.S. Magistrate Judge
                                                                                      Printed name and title
